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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:23-mj-00383-EJY-1
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     JAMAL CUNNINGHAM,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the bench trial currently scheduled for

11   Wednesday, October 25, 2023 at 9:30 a.m., be vacated and continued to May 15, 2024 at

12   the hour of 9:30 a.m. in Courtroom 3D.

13          DATED this 23rd day of October, 2023.

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                                              UNITED STATES MAGISTRATE JUDGE
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